Docusign Envelope ID: 2F225248-0B3C-4B67-9331-CAB8E3F4C19C
                              Case 24-21209-LMI              Doc 95   Filed 12/03/24   Page 1 of 2




                                   LIMITED LIABILITY COMPANY RESOLUTION

                  Baby K’tan, LLC (the “Company”) does hereby consent to and adopt the following

          resolution:

                  WHEREAS the Company is currently indebted to its creditors and cannot pay its debts

          as they become due;

                  WHEREAS, the undersigned believes that it is in the best interest of the Company to

          file a Chapter 11 bankruptcy petition to reorganize the Company’s financial affairs and ensure

          an orderly process to address the claims of creditors;

                  WHEREAS, the undersigned agrees to the retention of counsel of DGIM Law, PLLC

          to represent the Company as counsel;

                  and

                  NOW THEREFORE, it is

                  RESOLVED that the Company files a Chapter 11 Bankruptcy petition, and the

          Company is hereby authorized and directed to take such action and execute such documents as

          it may deem necessary desirable and advisable to effectuate the foregoing.

                  RESOLVED that the Company retains DGIM Law, PLLC as bankruptcy counsel.

                  RESOLVED that Isaac Wernick is appointed as the person authorized to sign all petitions

          and schedules and any other document necessary to effectuate the reorganization of the Company.

          This includes but is not limited to all plans, schedules, statements, and petitions necessary.

                  RESOLVED that all actions and transactions relating to the matters contemplated by the

          foregoing resolutions done in the name of and on behalf of the Company, which acts have been

          approved by the foregoing resolutions except that such acts were taken before these resolutions

          were certified are hereby in all respects ratified and approved.

                  IN WITNESS HEREOF, the undersigned has hereunto executed this Resolution dated as of

          this 2nd day of December, 2024
Docusign Envelope ID: 2F225248-0B3C-4B67-9331-CAB8E3F4C19C
                              Case 24-21209-LMI              Doc 95   Filed 12/03/24   Page 2 of 2




            By:
                     Michal Chesal, Manager of Baby K’Tan, LLC


            By: _____________________________
                                        12/3/2024
                  Isaac Wernick, Member

            By: _____________________________
                  Michal Chesel, Member 12/2/2024
